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               ATTACHMENT 5
       Expert Reports Prepared for Counsel,
             Bailey v. Antrim County
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                         EXHIBIT 3
    Qualifications and Reports of Jeff Lenberg
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Exhibit A – Test Case #2 – Presidential and Congressional Swap Only




                  Figure 1 - Trump/James/Bergman
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                     Figure 2 - Trump/James/Bergman
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                   Figure 3 - Trump/James/Bergman
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                     Figure 4 - Trump/James/Bergman
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                   Figure 5 - Biden/Peters/Ferguson
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                   Figure 6 - Biden/Peters/Ferguson
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                   Figure 7 - Jorgenson/Willis/Boren
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                Figure 8 - Trump/Biden Flipped on RTR
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                   Figure 9 - Senate - Correct - No Flip
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      Figure 10 - Congressional District - Ferguson/Bergman Flipped
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Figure 11 - Paper Tape Results Showing Presidential/Congressional Flipped -
                               Senate Correct
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Subject: Preliminary Report of Subversion in the Antrim County Election
Management System, Results Tallying and Reporting Application
Date: 5/9/2021
Analyst: Jeffrey Lenberg

Executive Summary

The Antrim County Dominion Democracy Suite, Election Management System
(EMS), Results Tallying and Reporting (RTR) application has been found to be
subverted. Numerous error conditions that are identified by the tabulator are
ignored by the EMS/RTR. The error conditions are easily reproduced and displayed
on the tabulator, yet the EMS/RTR has been subverted in a fashion to purposefully
ignore vote manipulation. This technical behavior is consistent with a subversion
being deployed in the Antrim County EMS/RTR and is designed to mute such error
reporting. This subversion technique is common among malicious actors seeking to
proactively handle error conditions that would jeopardize their ability to modify
software’s performance.

The J Alex Halderman expert report dated March 26, 2021 does not accurately
describe the conditions that occurred in the Antrim election. The shifting of votes
described by Halderman during the November 3, 2020 election should have resulted
in Biden’s votes being shifted to the Natural Law Party, Straight Party Vote, which
in turn would have resulted in Rocky De La Fuente (the Natural Law Party
Candidate) receiving a large number of votes as a result, or an error condition
should have occurred on the EMS/RTR for a vote shift outside of the Presidential
contest. Neither of these scenarios occurred because the EMS/RTR was subverted in
a fashion to handle such an error silently and treat that situation as an undervote
(no vote for the Presidential race at all).

Testing of related scenarios has shown the ImageCast Precinct (ICP) tabulator
properly reported a critical error and shut down the tabulator when there were
votes shifted between contests. However, when the EMS/RTR was presented with
the same results file processed on the tabulator, it reported no errors, but instead
erroneously reported those vote choices as blanks (undervotes) instead of generating
a critical error.

The evidence of a subversion in the EMS/RTR is sufficient that an expert review of
the source code for the EMS/RTR is warranted to determine the extent of the
subversion and breadth of the configuration options available to the malicious
actors that would employ it.

This assessment is based on the review of the Antrim County EMS/RTR and testing
with an ICP tabulator. If more forensic information and source code becomes
available for review, this assessment will be reevaluated in the light of the new
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evidence available. Upon receipt of the source code a specific evaluation of the error
handling routines will be conducted along with static and dynamic code analysis to
definitively determine the specific behavior of the software.

Details

Discovery of Subversion of the Antrim County EMS/RTR

A specific test was designed to determine how the Antrim County EMS/RTR along
with the tabulator would handle the swap of Biden votes with the Natural Law
Party (Straight Ticket Vote from the Contest Above on the ballot).

The rationale for making this test was the fact that Halderman indicated that the
shift of votes that occurred would have changed the index of the candidate selection
to cross the boundary from the Presidential contest to the Straight Party Ticket
contest. This shifting across the boundary of a contest should have created a critical
error condition during the processing of votes, however, in the case of Antrim
County election it did not.

The test scenario is as follows:

Ballot Style: Helena Township, Precinct 1 (1124)
DVD File Name: 1120_8_8_0_DETAIL.DVD
internalMachineID for Biden: 3016
internalMachineID for Natural Law Party: 3015

Votes Cast on Test Ballots (See Appendix A):
Biden: 2
Trump: 4
Jorgenson: 1

Both the EMS/RTR and the ICP tabulator used exactly the same DVD file listed
above.

The test scenario implemented a swap between the internalMachineID fields of
Biden and the Natural Law Party in the VIF_BALLOT_INSTANCE.DVD file to
attempt to cause Biden's votes to be swapped with the Straight Party/Natural Law
Party.

The expected outcome was that Biden’s votes would be assigned to the Natural Law
Party (Straight Party Vote) and the result would be Biden’s votes being tallied for
the Natural Law Party Presidential Candidate Rocky De La Fuente.
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The test revealed the following:

   •   The ICP reported a critical error and does not finish processing the vote file,
       does not print a paper tape, writes the error to the log file, and forces a
       mandatory shutdown of the tabulator
   •   The EMS/RTR loads the same file with no errors and takes all of the Biden
       votes and treats them as undervotes

The 1120_8_8_0_DETAIL.DVD file is a result file containing the votes that are cast
on the ICP. When the poll is closed, the ICP software processes the file containing
the votes and produces a paper tape with the tallies for each candidate. This
process works normally as long as the internalMachineID is not modified or the
modification stays within the boundaries of the those “expected” for the specific
contest, for example the Presidential Contest. In other words, a malicious actor can
swap internalMachineIDs within the same Contest for any candidate so long as the
index remains in the correct range for that same contest.

However, for the purposes of this test the internalMachineIDs were swapped
between different Contests, the software in the ICP reports a critical error (see
Figure 1). The ICP does not finish processing the vote file (Figure 1), does not print
a paper tape, requires the operator to shut-down the tabulator (see Figure 2), and
records details of the error in the slog.txt file (Figure 3) on the compact flash card.
The tabulator takes drastic action to inform the operator that a very serious
problem has been encountered. Note that the vote result file
1120_8_8_0_DETAIL.DVD is still correctly stored on the compact flash card.
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                Figure 1 - ICP Error Loading Results File
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            Figure 2 - ICP Critical Error - Shutdown Required
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             Figure 3 - slog.txt File Contents from Compact Flash Card


The same compact flash card is then loaded on to the Antrim EMS/RTR software.
The card reports that it loaded successfully both the vote results and the log file
(See Figure 4). Prior to loading this compact flash card the EMS database is
directly manipulated in the same way that the file sent to the tabulator was
manipulated by swapping 3015 and 3016 internalMachineID in the
ChoiceManifestion table of 5744 vote choices spanning all of the contests on all of
the 49 ballots types.
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                  Figure 4 - EMS Successfully Loads Results File


The displayed results indicated that Biden is missing his votes and they are
reported as blank ballots and undervotes for that contest (See Figure 5). One of two
things should have happened. Either Biden’s votes should have been assigned to the
Straight Party/Natural Law (internalMachineID = 3015) in which case Bidens vote
for President would have been assigned to De La Fuente and note that this did not
occur. The other possibility is that the software was able to check the range for
internalMachineID range for the contest in which case it would not have found the
reference for the Biden vote choice and it should have created an error very similar
to what the ICP output. This would be a critical error that should have stopped the
application from further processing the compact flash card. Because the Biden vote
choice must exist and it did not exist, the application should have stopped loading
the results with an error message as to the fact that the results were corrupted.
However, no errors were indicated of any kind by the EMS/RTR. The Biden votes
just became blank votes (no choice) when there clearly is a choice on the ballot. In
summary, either the shifted votes should have gone to De La Fuente (via Straight
Party – Natural Law Party) or the application should have created a critical error
that would have kept the votes from being tallied and reported.
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                        Figure 5 - Biden Undervotes Results


The conclusion of this test indicates EMS/RTR technical behavior consistent with a
technical subversion. Further in-depth analysis of source code would be required to
gain definitive clarity on the specific nature of the subversion. This would include
analysis of the error handling routines, code traces, static and dynamic code
analysis.



Under the penalties of perjury, I declare that I have read the foregoing report and
that the fact stated in it are true.



____ ______________    ______
Jeffrey Lenberg
Date: 5/9/2021
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                  Appendix A – Ballots Used in Test




                   Figure 6 - Trump/James/Bergman
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                   Figure 7 - Trump/James/Bergman
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                   Figure 8 - Trump/James/Bergman
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                   Figure 9 - Trump/James/Bergman
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                   Figure 10 - Biden/Peters/Ferguson
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                   Figure 11 - Biden/Peters/Ferguson
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                   Figure 12 - Jorgenson/Willis/Boren
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Date: 5/15/2021
Subject: Evidence of Vote Shifting in Barry County Michigan
Analyst: Jeffrey Lenberg

Executive Summary

The Dominion Voting Systems Election Management Systems (EMS), Results Tally
& Reporting (RTR) application was subverted during the course of the November 3,
2020 election in Barry County Michigan. There is evidence of the same vote shifting
discovered in Antrim County, Michigan occurring in Barry County during election
night.

In a previous report by this author dated May 9, 2021, a subversion in the
EMS/RTR system was demonstrated where critical errors were disregarded, and the
processing of votes continued despite error conditions that should have triggered a
critical error in the system.

One of the specific subversions to the error handling in the EMS/RTR noted was the
use of logical “bumpers” that prevented the shifting of votes from one contest to
another. These logical bumpers account for the shifted Biden votes in the Antrim
County election going to the status of “undervote” for the Presidential contest.
Without this subversion the vote shifting would result in votes being assigned to the
Natural Law Party in the Straight Party Ticket contest on the ballot. The votes
shifted from Biden to the Natural Law Party, Straight Party Ticket vote, would
then result in the Presidential candidate Rocky De La Fuente receiving Biden’s
votes.

An affidavit from Jada Chadwick of Hastings, Barry County, Michigan dated
December 5, 2020 indicates that she observed Rocky De La Fuente leading in the
race with 8,883 votes at 11:17PM with 47% of the precincts reporting on November
3, 2020. Jada Chadwick attached a photo of her computer screen to her affidavit
documenting Rocky De La Fuente leading the race.

The candidate Rocky De Law Fuente’s final total vote count in Barry County was 16
votes. This type of aberration occurring during a live election is consistent with a
subversion being employed operationally by a malicious actor in a misconfigured
mode. We have established that the subverted EMS/RTR in Antrim County will not
allow Biden votes to be shifted to the Natural Law Party, Straight Party Ticket
vote. However, in Barry County during election night November 3, 2020 it is
apparent that the subversion was misconfigured resulting in the shifting of votes
and consequently causing votes to accrue to the Natural Law Party Candidate,
Rocky De Law Fuente.



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It is highly likely that the required error handling subversion observed in Antrim
was not in place in Barry as would be required to force the cross-Contest vote shift
to go to undervote. The accidental but observable extreme results generated from
this vote manipulation were anticipated by the malicious actor and likely required a
rapid deployment of a pre-planned software fix or an updated configuration to
correct for this obvious error in logic. This update would have needed to be deployed
across the State of Michigan on all Dominion Voting Systems EMS/RTR systems
where the incomplete subversion had a similar malfunction when manipulating the
vote totals. This could have been done by an unwitting technician or a download if
there existed any remote path into the EMS computer.

The evidence of EMS/RTR subversion in Barry County is relevant to Antrim County
because the same contractor, ElectionSource, was likely responsible for the design
and deployment of the election project files in both Antrim and Barry County that
take advantage of this subversion in order to manipulate votes. A definitive
conclusion on the observed behavior of the EMS in Barry County and its relation to
the subversion in Antrim can only be completed with a full forensic examination of
the equipment and removable media in Barry County. The Michigan Secretary of
State has previously ordered destruction of some removable media related to the
November 3, 2020 election (See Appendix C). The removable media (compact flash
card(s)) is crucial to understand the nature of the subversion that occurred.

Details

This author’s report dated May 9, 2021 indicated the presence of a subversion in the
Dominion Voting Systems EMS/RTR system. The subversion specifically pertained
to how the EMS/RTR system processed results files where a shift occurs in the
targeted race.

The Antrim County shift impacted the internalMachineID field of the table named
Choice_Manifestation in the EMS database. The subversion of the Antrim County
EMS/RTR includes a logical bumper that does not allow the shifting of votes from
one contest to another, only shifting of votes within the same contest. The
subversion prevents the system from raising a critical error and permits the
EMS/RTR to continue processing and posting results without any error or warning
messages.

In Antrim County, Biden’s votes (internalMachineID index) were shifted to the
index number assigned to the Straight Party Ticket Contest, Natural Law Party
vote. However, due to the logical bumpers deployed as part of the subversion, all of
Biden’s shifted votes were counted as “undervotes” by the EMS/RTR in Antrim.
Without the subversion it would be expected that shifted Biden votes would cross
into the Straight Party Ticket contest, leaving the Presidential contest with no vote
within. The internalMachineID index selected as a result of the shift would be the
                                          2
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Natural Law Party, Straight Party Ticket vote. If this selection were to be
accurately executed by the Dominion Imagecast Precinct (ICP) and the EMS/RTR,
the result would be a vote for the Natural Law Presidential candidate Rocky De La
Fuente.

See Figure 1 containing a graphical explanation of the internalMachineID index of
vote bullets on the ballot are assigned and used by the ICP and EMS/RTR.




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Evidence of Subversion in Barry County, Michigan

An affidavit filed by Jada Chadwick of Hastings in Barry County, Michigan dated
December 5, 2020 indicated that she observed Rocky Del La Fuente leading in the
Presidential contest having 8,883 votes at 11:17PM with 47% of the precincts
reporting on November 3, 2020. Figure 2 is the screenshot that Ms. Chadwick took
of the vote totals from her computer screen.




     Figure 2 - Barry County Election Live Update 11:17PM November 3, 2020
                 See Appendix A for full Affidavit from J Chadwick


The final vote totals for Barry County reflect that the candidate Rocky De La
Fuente received only 16 total votes vice the 8,883 votes reported on election night
when he was in the lead.




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Conclusion

The subversion that impacted Antrim County was present yet not fully
implemented in the EMS/RTR in Barry County on election night. The manifestation
of votes being shifted to Rocky De La Fuente is consistent with the EMS/RTR
subversion previously identified in Antrim County. The large number of votes for
Rocky De La Fuente in Barry County during the live election results reporting can
be attributed to a misconfiguration of the subversion or inadequate planning on the
part of the subversion developer when writing the code to support the subversion. It
is highly likely that a software update or some sort of “patch” had to be deployed to
correct this issue and then the results files had to be reprocessed and reposted to
the state and the election night reporting system.

The Antrim County subversion is not an isolated incident, and it is apparent that
whoever is responsible for creating election project files exercised their ability to
manipulate voting in Barry County as well as Antrim County.



Under the penalties of perjury, I declare that I have read the foregoing report and
that facts stated in it are true.




___________________
Jeffrey Lenberg




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               Appendix A – Jada Chadwick Affidavit




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Appendix B – Official Election Results from Barry County, Michigan



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                                                 Election Summary Report
                                                           General Election
                                                        Barry County, Michigan
                                                         November 03, 2020
                  Summary for: All Contests, All Precincts, All Tabulators, All Counting Groups


  Precincts Reported: 24 of 24 (100.00%)
  Registered Voters: 36,146 of 0 (N/A)
  Ballots Cast: 36,146



  Straight Party Ticket (Vote for 1)
  Precincts Reported: 24 of 24 (100.00%)

                                                  Election Day AV Counting    Total
  Times Cast                                           21,099       15,047    36,146 / 0 N/A

  Candidate                              Party    Election Day AV Counting    Total
                                                                    Boards
  Democratic Party                       DEM            2,069        3,214    5,283
  Republican Party                       REP            9,649        4,442   14,091
  Libertarian Party                        LIB            87            35     122
  U.S. Taxpayers Party                   UST               8            15      23
  Working Class Party                    WCP              68            23      91
  Green Party                            GRN              22            13      35
  Natural Law Party                      NLP              16             0      16
  Total Votes                                          11,919        7,742   19,661

                                                  Election Day AV Counting    Total
                                                                    Boards
  Unresolved Write-In                                      0             0       0




                                                                        16
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President/Vice-President of the United States (Vote for 1)
Precincts Reported: 24 of 24 (100.00%)

                                               Election Day AV Counting     Total
Times Cast                                          21,099       15,047     36,146 / 0 N/A

Candidate                            Party     Election Day AV Counting     Total
                                                                 Boards
Joseph R. Biden/Kamala D.
                                     DEM             4,522        7,275    11,797
Harris
Donald J. Trump/Michael R.
                                     REP            16,088        7,383    23,471
Pence
Jo Jorgensen/Jeremy Cohen                LIB          297            182     479
Don Blankenship/William
                                     UST               24             35      59
Mohr
Howie Hawkins/Angela
                                     GRN               50             33      83
Walker
Rocky De La Fuente/Darcy
                                     NLP               12              4      16
Richardson
Total Votes                                         20,993       14,912    35,905

                                               Election Day AV Counting     Total
                                                                 Boards
Unresolved Write-In                                    33             23      56



United States Senator (Vote for 1)
Precincts Reported: 24 of 24 (100.00%)

                                               Election Day AV Counting     Total
Times Cast                                          21,099       15,047     36,146 / 0 N/A

Candidate                            Party     Election Day AV Counting     Total
                                                                 Boards
Gary Peters                          DEM             4,428        6,941    11,369
John James                           REP            15,958        7,541    23,499
Valerie L. Willis                    UST              195            171     366
Marcia Squier                        GRN              132            109     241
Doug Dern                            NLP               64             31      95
Total Votes                                         20,777       14,793    35,570

                                               Election Day AV Counting     Total
                                                                 Boards
Unresolved Write-In                                    22             10      32




                                                                17
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 Appendix C – Michigan Secretary of State Memo December 2, 2020




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Date: 5/16/2021
Subject: Summary of Security Deficiencies in the Antrim County Voting Systems
Analyst: Jeffrey Lenberg

Executive Summary

This summary describes a subset of the critical deficiencies in the security of the
electronic voting systems used in Antrim County, Michigan for the November 3,
2020 election.

Election workers/contractors with the technician/supervisor passcode can change
the date/time on the Imagecast Precinct (ICP) tabulator tapes by resetting the time
on the tabulator after they enter their passcode. The election worker/contractor can
then proceed to print a new election tape from the tabulator with whichever
data/time stamp they prefer. If a malicious election worker/contractor wished to run
additional ballots outside of the election window or after hours, the ability to reset
the time to print new tapes makes it extremely difficult to identify fraudulent
activities because the paper tapes figure prominently in the canvassing process. See
the expert report by Penrose dated May 3, 2021 that shows in the EMS the
technician passcode of “123456”.

All of the Antrim County election workers and contractors that perform work on the
EMS utilize the same account to work on the system. This account has
administrative access and can be used to modify the EMS database to manipulate
vote totals. The 6 account first name/last names pairs listed in the system database
are as follows: Ben/Smythe, John/Smith, Ryan/Smoth, MRO/M01, Return
Office/Admin, MRESuper/Admin. These are the only users that account for log
entries regardless of who is actually logged into the system and making changes.

The password enforcement policies on the EMS are substandard, they even allow
the users to set purposefully “weak” passwords as a feature.

The absence of best practice security procedures to require individual accounts for
users to protect accounts and passwords is inexcusable in a system that is used to
conduct elections. In addition, the ability to reset date/time on tabulators, reopen
the polls, reprint tapes makes fraud very feasible for even low sophistication actors.

Details

Election workers have the ability to set the time on a tabulator at any time in order
to print paper tapes that show the appropriate date/time stamp. The
technician/supervisor password enables the workers to have this capability. The


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process is straightforward and is performed by traversing the menus on the
tabulator itself.
For this demonstration scenario, the following steps were performed to illustrate
that the ICP paper tabulator tapes can be custom modified to show a specific time of
poll closure for the election, regardless of the actual date and time.

   •   The ICP is powered on.

   •   The ICP Poll is opened by scanning the security key fob on the ICP sensor
       and entering the poll worker security passcode of “11032020”, and a zero tape
       is printed.

   •   7 demonstration ballots (same reference ballots from Lenberg report dated
       May 3, 2020 Exhibit A) are fed into the tabulator demonstration purposes.
          o The vote breakdown on the original ballots for the Presidential Contest
            is as follows:
                • 4 votes for Trump
                • 2 votes for Biden
                • 1 vote for Jorgenson
          o The vote breakdown on the original ballots for Senate
                • 4 votes for James
                • 2 votes for Peters
                • 1 vote for Willis

   •   The ICP Poll is closed by placing the security key fob on the ICP sensor which
       brings up an administrative menu to close the poll. As soon as the poll is
       closed a paper tape of the tabulation is automatically printed. The paper tape
       includes a flip of Trump and Biden votes.
           o The vote breakdown on the paper tape for the Presidential Contest is
              as follows:
                  • 2 votes for Trump (flipped from Biden to Trump)
                  • 4 votes for Biden (flipped from Trump to Biden)
                  • 1 vote for Jorgenson
           o The vote breakdown on the paper tape for Senate
                  • 4 votes for James
                  • 2 votes for Peters
                  • 1 vote for Willis

   •   The ICP Poll is reopened by placing the security key fob on the ICP sensor
       and entering the technician passcode “123456”




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      o 7 ADDITIONAL demonstration ballots are fed into the system with the
        same original ballot breakdown as the initial group of ballots used in
        the demonstration.
      o The security key fob is placed on the ICP sensor, and a menu appears
        automatically ICP LCD showing CLOSE THE POLL, UTILITIES,
        BALLOT REVIEW, POWER DOWN, and CANCEL




                 Figure 3 - ICP LCD Administrative Menu

      o The following menu selection is made on the tabulator LCD
          • UTILITIES -> DIAGNOSTICS -> INDIVIDUAL -> INTERNAL
              CLOCK -> SET DATE AND TIME
          • See Figures 4-9




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       o Set the date/time to the election date/time the poll was originally
         closed
             • This specific action represents the most egregious vector for
                fraud for local election workers/contractors with administrative
                access to the tabulators and to any ballot(s)
             • The ballot images are stored on the EMS and additional blank
                ballots are in the possession of Election Source contractors and
                any local official with physical access to the media. (see Penrose
                report dated May 3, 2021)
             • The poll worker/technician passcodes along with access to
                additional ballots (could be only one) would be sufficient to
                perpetrate this fraud
       o On the ICP LCD select CANCEL on the DIAGNOSTICS sub-menu
       o On the ICP LCD select CLOSE POLL and enter the poll worker
         passcode “110302020”

•   The malicious actor initially makes an estimate the number of fraudulent
    votes needed to win the election and programs for that scenario. However,
    often they need to add additional votes beyond the pre-planned fraud
    estimates, requiring the polls to be re-opened again to add additional
    fraudulent votes to achieve their objectives.

•   The ICP Poll is reopened by placing the security key fob on the ICP sensor
    and entering the technician passcode “123456”
       o Once again, 7 ADDITIONAL demonstration ballots are fed into the
          system with the same original ballot breakdown as the initial group of
          ballots used in the demonstration.
       o The security key fob is placed on the ICP sensor, and a menu appears
          automatically ICP LCD showing CLOSE THE POLL, UTILITIES,
          BALLOT REVIEW, POWER DOWN, and CANCEL
       o The following menu selection is made on the tabulator LCD
              • UTILITIES -> DIAGNOSTICS -> INDIVIDUAL -> INTERNAL
                 CLOCK -> SET DATE AND TIME
       o Set the date/time to the election date/time the poll was originally
          closed
              • Again, this is done to ensure the paper tapes printed from the
                 tabulator remain consistent and fraud is not detected during the
                 canvassing process.
       o On the ICP LCD select CANCEL on the DIAGNOSTICS sub-menu
       o On the ICP LCD select CLOSE POLL and enter the poll worker
          passcode “110302020”

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•   This demonstration continues to follow the same process of injecting
    fraudulent votes and maintaining the exact same date and time for the poll
    opening, closing, and printout to the minute.
       o This is done for two more rounds of adding 7 more fraudulent ballots
          per round
       o The total number of fraudulent ballots added is 21 in this
          demonstration while maintaining the same date and time to the
          minute as the original election results on the ICP tabulator paper tape.

•   The fraudulent actor may run this attack ad infinitum at their leisure.




           Figure 10 - Manipulated Vote Totals on Tabulator Tapes
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Figure 11 - Specific Times Manipulated on the Tapes Corresponding to Figure 10




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Administrator Accounts and Passwords

The Dominion Election Management System (EMS) database accounts have the
following user names: John Smith, MRO M01, Return Office Admin, Ben Smythe,
MRESuper Admin, Ryan Smoth.




            Figure 12 – Dominion EMS Database Administrator Accounts




          Figure 13 - UserInfo Log Change from John Smith to Ben Smythe


Any user with access to the EMS using the EMS Admin username and password to
log into the Dominion Democracy Suite Election Event Designer (EED) application
will appear to be “Ben Smythe” in the log files. This obfuscates identity of the true
user on the system and makes it impossible to perform security audits and ongoing
monitoring for suspicious activities. The EED application is used to design the
entire election, it is used to program the election files on to the compact flash cards,
and it is used to program the security key fobs that are required to open, close,
reopen, or rezero the polls.

If there were inappropriate or fraudulent activities occurring on the EMS they
would be attributed to the shared account and follow-on investigations would be
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stymied by the lack of specificity when it comes to the identity of the user active on
the system.

Similarly, any user with access to the RTR using the EMS RTRAdmin username
and password to log into the Dominion Democracy Suite Result Tallying and
Reporting (RTR) application will appear to be “Ryan Smoth” in the log files. This
was found in the template for Michigan (Figures 14 and 15). So one can assume
that all counties in Michigan that were programmed using this template will all
have Ryan Smoth as the RTRAdmin User. This obfuscates identity of the true user
on the system and makes it impossible to perform security audits and ongoing
monitoring for suspicious activities. The RTRAdmin operator account offers the
option of choosing a “weak” password as a feature. (Figure 16) This option to choose
a weak password is against all best security practices and leaves the RTR Operator
role susceptible to exploitation by malicious cyber attackers. The RTR application
is the one used to import, reject, validate, publish, and unpublish results contained
on the compact flash cards and/or results transmitted via modem to a county-
located Listener computer (proposed for Antrim but apparently not purchased) that
then relays them to the EMS computer. Results can also be manually entered at
this point overriding results from any other source. Once they are “published” into
the reports that then go out to the media there is no external indication that the
results were “manually” entered into the system instead of coming from the
tabulators.




                   Figure 14 - Michigan Project Template Opened




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                   Figure 15 - Michigan Project Template Closed


Thus “Ryan Smoth” can enter whatever numbers he would like while ignoring the
original values on the encrypted compact flash cards and printed tapes. Mr. Smoth
can then go back the next day or any day up until the day the canvass is performed
and quietly reopen the polls, add a matching number of votes as he manipulated on
election night, change the time to match the original paper tape, and print the
results. When the canvass is performed the modified paper tape will match the
modified manually entered results. This is obviously an unacceptable combination
of features that should not be made available in a secure election system.

Ability to set “Weak Passwords”




            Figure 16 - RTR Operator Password Strength Dialogue Box


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The password policy enforcement tool for the EMS gives the following error when
we attempt to enter the current passwords used on the Antrim County EMS system.



Under the penalties of perjury, I declare that I have read the foregoing report and
that facts stated in it are true.




___________________
Jeffrey Lenberg




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                       EXHIBIT 4
  Qualifications and Reports of Ben Cotton
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              AFFIDAVIT OF BENJAMIN R. COTTON 23 FEBRUARY 2022

I, Ben Cotton, being duly sworn, hereby depose and state as follows:

1)      I am over the age of 18, and I understand and believe in the obligations of an oath. I

make this affidavit of my own free will and based on first-hand information and my own

personal observations.

2)      I am currently the Vice President for Incident Response for eSentire and am the founder

of CyFIR, LLC (CyFIR).

3)      I have a master’s degree in Information Technology Management from the University of

Maryland University College. I have numerous technical certifications, including the Certified

Information Systems Security Professional (CISSP), Microsoft Certified Professional (MCP),

Network+, and Certified CyFIR Forensics and Incident Response Examiner.

4)      I have over twenty-five (25) years of experience performing computer forensics and other

digital systems analysis.

5)      I have over eighteen (18) years of experience as an instructor of computer forensics and

incident response. This experience includes thirteen (13) years of experience teaching students

on the Guidance Software (now OpenText) EnCase Investigator and EnCase Enterprise software.

6)      I have testified as an expert witness in state and federal courts and before the United

States Congress.

7)      I regularly lead engagements involving digital forensics for law firms, corporations, and

government agencies and am experienced with the digital acquisition of evidence under the

under the Federal Rules of Evidence.
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8)       I reviewed the Administrator manual for the Hart Verity system for the version of

software that was purchased by the State of Michigan under contract number #071B7700128.

9)       I reviewed the State of Michigan contract number #071B7700128, which is specific to

the State of Michigan acquisition, deployment and operation of the Hart voting systems from

March 1, 2017 to February 28, 2027 and was in effect during the November 3, 2020 general

election.

10)      I reviewed the Voting System Examination of Hart InterCivic Verity Voting 2.4 report

dated May 16, 2020 the was conducted by Brian Mechler on behalf of the State of Texas.

11)      The information from the reviews of these documents coupled with my experience allow

me to make the following findings:

      a) Verity Devices Contain Internal Storage in Addition to USB VDrive Storage:.The

         Hart administrative manual details that the devices contain and internal storage on a CFast

         drive as well as storage in the form of VDrive USB drives. This storage configuration is

         confirmed by the Texas report dated May 16, 2020.

      b) CFast Cards Contain Election Data: The Hart manuals detail that operational logs, cast

         vote records (CVRs) and other election related materials are stored on the CFast card. Hart

         estimates that the CFast storage will fill up after 22 months of elections given typical election

         schedules.

      c) CFast Cards Also Contain the Firmware for the Device: The Hart administrative

         manuals and the State of Michigan Contract specify that the firmware for the Verity

         devices are stored on the CFast card.

      d) CFast Cards Also Contain the Firmware for the Device: The Hart administrative

         manuals and the State of Michigan Contract specify that the firmware for the Verity



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         devices are stored on the CFast card in addition to the voting data contained in paragraph

         11.c. of this affidavit.

      e) Hart Manuals do Not Proscribe Producing a Forensic Image of CFast Card: A

         review of the Hart administrative manuals and the State of Michigan Contract reveals that

         neither document specifies that a forensic image or other form of data preservation be

         performed by personnel on the CFast card prior to updating the firmware of the Device.

      f) Updating Firmware Provides Full Device Level Accesses to the Device: In my

         experience administrative level permissions and access is required to perform firmware

         upgrades on Devices. This level of access would permit both read and write access to

         any storage connected to the Device.

      g) Any Update of the Device Firmware Would Change the CFast Card: Given that the

         firmware for the Device is on the same Storage device that contains voting data, any

         update to the firmware would result in the overwriting of data on the CFast card.

12)      I have had the opportunity to examine a forensic image of an election system that was

taken prior to a vendor update and a forensic image of that same system after the vendor update.

Based on this examination it was clear that the update over wrote, and thus destroyed, the

election data, system logs and program files that were contained on the system prior to the

vendor update. Depending on the level of backups and archiving of the original system by the

clerk, the act of ‘updating’ the voting software could have deleted items that are necessary to be

preserved under federal law.

13)      Updating election systems and subsequent certification of those systems is an inherent

government function. The abdication of this function to vendors is illegal under the Federal

Acquisition Regulation. Government officials must be able to adequately provide oversight to



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vendors supporting the updating and certification of those systems to comply with the

appropriate jurisdictional requirements and regulations. In order to perform these oversight

functions the government official must have the same levels of administrative access as the

vendors, have access to detailed information concerning the full scope/impacts of the vendor

activities and be able to independently validate that those activities did not violate the law. I

have discovered in the course of my analysis that the vendors of election software typically do

not allow the counties that are using their software to have the level of access to the voting

systems that would permit independent validation of the systems prior to certification. Simply

put, there currently is no mechanism for county clerks to independently validate the installation

of firmware, system configurations, or other program installations without relying solely on the

vendor provided data or data provided by a company closely associated with the vendor as the

basis for certification.

14)      On 11 October 2021 I had the opportunity to attend the Logic and Accuracy meeting held

in the Adams Township Hall located in County of Hillsdale, State of Michigan. Following the

conclusion of the Logic and Accuracy meeting I observed a tablet from a Hart Intercivic

tabulator that was stored under lock and key in the clerk’s office. The tablet was removed from

the secure storage location and I observed that all seals contained on the device were intact. I

further observed that the device was returned to the secure storage location and locked back up.

It is my expert opinion that the action of removing the tablet from the Hart Intercivic tabulator

and securing it in a more secure storage location would not have modified or destroyed any

election data contained on the device, rather it would have provided an additional layer of

protection for the device against unauthorized access or modification.




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15)      It is clear from the configuration and operation of the Devices as defined in the

manufacturer’s administrative manuals, the results of the Texas report, the State of Michigan

contract data and my experience that updating the firmware on the Hart CFast card would over

write the data on that CFast card. Without preservation of the CFast card prior to the firmware

upgrade there is an extremely high probability that the election data stored on the CFast card

would be overwritten or destroyed.

SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 23rd DAY OF

FEBRUARY 2022.



                                                       _________________________
                                                       Benjamin R. Cotton




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                   AFFIDAVIT OF BENJAMIN R. COTTON 11 JULY 2022

I, Ben Cotton, being duly sworn, hereby depose and state as follows:

1)      I am over the age of 18, and I understand and believe in the obligations of an oath. I

make this affidavit of my own free will and based on first-hand information and my own

personal observations.

2)      I am the founder of CyFIR, LLC (CyFIR).

3)      I have a master’s degree in Information Technology Management from the University of

Maryland University College. I have numerous technical certifications, including the Certified

Information Systems Security Professional (CISSP), Microsoft Certified Professional (MCP),

Network+, and Certified CyFIR Forensics and Incident Response Examiner.

4)      I have over twenty-five (25) years of experience performing computer forensics and other

digital systems analysis.

5)      I have over eighteen (18) years of experience as an instructor of computer forensics and

incident response. This experience includes thirteen (13) years of experience teaching students

on the Guidance Software (now OpenText) EnCase Investigator and EnCase Enterprise software.

6)      I have testified as an expert witness in state and federal courts and before the United

States Congress.

7)      I regularly lead engagements involving digital forensics for law firms, corporations, and

government agencies and am experienced with the digital acquisition of evidence under the

under the Federal Rules of Evidence.

8)      I reviewed the Administrator manual for the Hart Verity system for the version of

software that was purchased by the State of Michigan under contract number #071B7700128.
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9)         I reviewed the State of Michigan contract number #071B7700128, which is specific to

the State of Michigan acquisition, deployment and operation of the Hart voting systems from

March 1, 2017 to February 28, 2027 and was in effect during the November 3, 2020 general

election.

10)        I reviewed the Voting System Examination of Hart InterCivic Verity Voting 2.4 report

dated May 16, 2020 the was conducted by Brian Mechler on behalf of the State of Texas.

11)        The analysis and review of the Hart InterCivic administrative and user manuals state the

following:

      a) State Michigan contract number #071B7700128 documents the inclusion of the State of

           MI Qualified Voter Files (QVF) loaded onto the tabulators on page 59 and are illustrated

           in the diagram on page 60.

      b) This download of QVF occurs 4-5 weeks prior to election via the Verity Drive USB stick

           (V-Drive). This data is loaded onto the tabulator prior to the Public Accuracy Test and

           not modified by the clerk prior to election day.

      c) The Verity drive is provided by the County to the township clerk.

      d) The Hart InterCivic tabulator includes broadband technology and automatic transmission

           process. (Page 61)

      e) The ballot images are stored on the tabulator in PNG format. (page 77)

      f)   The time stamp of the ballot insertion into the tabulator is removed per paragraph

           1.1.A.24 of Hart contract.

      g) Ballot information is recorded in 3 physically separate locations: internal memory, the

           paper ballot itself and on the V-drive.

12) The Adams Township tabulator was confiscated by MI State Police and remains in their

      custody. Since maintenance was not performed prior to the seizure, the ballot information

      from the 2018 thru March 2021 elections should remain on the device.

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13)      I have had the opportunity, with the permission of Adams Township, Michigan officials,

to examine the contents of the Electronic Poll Book (EPB) USB drive from the November 2020

General Election.

14)      I have reviewed the letter from Jonathan Brater, Director of Elections, dated 15 October

2021 to Stephanie Scott.

15)      I have reviewed a series of emails between Stephanie Scott and Abe Dane dated 23

February 2021 through 24 February 2021.

16)      I have reviewed the Memorandum dated 12 February 2021 named 2021.02.12 Final

Release of Security Memo Nov 2020.pdf. This memorandum is unsigned but is written on

Michigan Bureau of Elections letterhead.

17)      I have had the opportunity to review the reports that are generated and printed by the

Secretary of State following the submission of precinct results for a given election. These

reports are referenced in the Jonathan Brater document dated 15 October 2021.

18)      The administrative and operator manuals for the Hart InterCivic voting system clearly

state that the Qualified Voter Record is stored on the voting machines and poll books..

19)      The epb.accdb file on the EPB USB is a password-protected data base that contains the

election definition data as well as qualified voter data. At the point that these files are utilized in

the course of the election, the data contained in these files becomes unique to that machine and

election. For example, when a qualified voter casts a vote the exact date and time that the vote is

cast is added to the voter’s record. At this point, the data on the devices and the EPB USB

becomes original evidence for the voting process.

20)      Under the Federal Rules of Evidence Rule 902 paragraph 14, data copied from an

electronic device, storage medium or file is admissible if authenticated by a process of digital

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identification and certified by a qualified person. This presumes that all data contained on the

device is copied and reproduced. I saw no evidence that there is any such certification attesting

to the completeness of the copied data associated with the conversion of the electronic EPB USB

to the printed format that is produced by the Secretary of State. Without this certification, the

original evidence must be preserved. In this case that would require that the systems involved in

the election and the removable media used in the election be preserved in their digital state

following the closure of the polls. There are forensic preservation processes that could have

preserved the data, but there are no current processes or procedures approved by the Secretary of

State to perform these operations.

21)      The EPB USB is original evidence. The basic principle governing the preservation of

electronic data and ensuring that digital evidence is admissible in court is that original evidence

is the best evidence. Preserving a digital device in an original state ensures that the evidence is

reliable, dates and times are factual, and that the data has not been altered. Failure to preserve

digital evidence in a forensically sound manner can result in charges of spoliation and the

inadmissibility of that evidence in court. Based on my review of the Hart InterCivic manuals

and the Secretary of State’s instructions to the municipality election officials, I do not see any

method or procedure to forensically preserve the voting systems or the digital media used in a

Michigan election.

22)      The EPB USB contains data that is unique to that specific EPB USB and to the

equipment that the USB is plugged into. The following items are not recorded anywhere else in

the night-end reporting:

      a. Same Day Voting Data. The quantity of same-day in-person registrations is not

         summarized on night-end reports.



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      b. Same Day Voting Data. The voter identification/ information is not recorded in the

         printed total votes cast nor is this information delineated in the end-of-night voter list.

      c. Same Day votes. These votes are not separated out on the night-end ballot summary

         report.

      d. The reports produced at the closing of the polls will reconcile the voting numbers, but

         there is no method to separate out the same-day registers without the original EPB USB.

23)      I have analyzed reports produced by the Secretary of State for the preservation of voting

data and materials under the Federal Statute and have determined that those reports do not

capture and preserve all the data contained on the EBP USB. The following data elements for

and Electronic Pollbook and other voting equipment used in the election are not part of these

reports:

      a) Computer Name that the Vote was Conducted On

      b) The Domain of the Computer

      c) Manufacturer of the Computer

      d) The Model of the Computer

      e) Processor Name

      f) Total Virtual Memory Size

      g) Free Virtual Memory

      h) Free Physical Memory

      i) Internet Connection Status

      j) Internet Connection Type

      k) Cable Internet Speed

      l) Cable Internet MAC Address



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   m) Wifi Internet Speed

   n) Wifi Internet Mac Address

   o) Windows Operating System Version

   p) AntiVirus Program and Status

   q) Firewall Type and Status

   r) Bit Locker Disk Encryption Status

   s) Bitlocker Hard Disk Status

   t) Bitlocker Removeable Drive Status

   u) .Net Version

   v) Dymo Lable Version.

Once again, these data elements are not part of the reports that are produced for preservation by

the Secretary of State, but would be data that should be preserved under the Federal statutes.

Should an audit of the election or should the voting records be produced in support of a legal

action, the above components would be critical to prove compliance with election law, validate

voting system configurations and the demonstrate the fairness of the election. Failure to

forensically preserve the EPB USB would have effectively deleted and wiped these elements of

information, as they are not present or preserved on any other component of the voting system.

24) The following data fields for voter information from election day are not part of the night end

   reports:

   a) VOTERID

   b) BALLOTTYPE

   c) PRECINCT

   d) CREATE DATE – Recorded date of election.

   e) ADDRESS_ID


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   f)   LICENSE_NUMBER

   g) IDENTIFICATION_STATUS_ID

   h) DISTINCT_POLITIAL_AREA_ID

   i)   CODE

   j)   PARTYID

25) I had the opportunity to review FOIA documents produced by the Secretary of State’s office to

   Scott Aughney. These documents included the official vote totals for Adams Township. Analysis

   of these official totals revealed some significant deviations from the data contained on the voting

   media at the local Township level.

   a) The Electronic Poll Book USB data for Adams Township recorded 1,362 voters in night end

        reporting. This includes the same-day registered voters.

   b) The Hillsdale County Canvassing Board confirms the quantity of 1362 votes in Adams Twp

   c) The State records indicate 1332 votes recorded in Adams Township. This is short 30 votes

        from the end-of-day totals in the Adams Township data. These numbers do not include the

        fourteen (14) same-day registration voters.

   d) A comparison of names between the two data sources illustrates seventy-nine (79) unique

        names on the Electronic Poll Book data for Adams township that are not listed on the State’s

        official records.

   e) Conversely, there are sixty-four (64) names unique to the State’s records that are not

        represented on the Adams Township Electronic Poll Book records.

   f)   The combination of these report discrepancies documents an 11.5% difference in votes

        between township and state.

   Without the data contained on the EPB USB data there is no manner by which these

   discrepancies could be investigated and reconciled. The EPB USB data is essential to any

   audit or reconciliation.




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      EPB.accdb file and none of these individuals were shown to have been registered before the

      election. A review of the total information contained in this report indicates that thirteen (13)

      individuals are recorded as successfully voting in the November 2020 general election that

      were not registered to vote until well after the election.

26)      I have had the opportunity to examine multiple voting systems from multiple software

vendors. It is clear from my experience that there is a blatant lack of cyber security protection

within the election systems. In the case of Adams Township I have had a limited opportunity to

examine the complete voting system, but the items that I have been able to examine confirmed

that there are shared passwords utilized by the personnel supporting the election process.

Specifically the primary data base that is utilized on the EPB USB is a Microsoft Access

database named epb.accdb. This file is password protected, which is sound security practices,

but Microsoft Access only support a single password for multiple users. Each person using this

data base would have had to have possession of this single password. This is known as a shared

password. Sharing passwords is a violation of one of the basic tenants of sound cyber security

practices.

27)      It is clear from my examination of the materials, the Secretary of State’s election reports

and the digital EPB USB data that had Ms. Scott followed the directive from the Secretary of

State’s to delete the EPB USB data, none of these discrepancies could have been detected or

substantiated.




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SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 14th DAY OF July

2022.



                               ________//Original Signed//_________________
                                         Benjamin R. Cotton




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                                   STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF ANTRIM

WILLIAM BAILEY

        Plaintiff                                Case No. 20-9238-CZ

v.

ANTRIM COUNTY                                    HON. KEVIN A. ELSENHEIMER

        Defendant,

SECRETARY OF STATE JOCELYN
BENSON

        Intervenor-Defendant,

Matthew S. DePerno (P52622)                      Haider A. Kazim (P66146)
DEPERNO LAW OFFICE, PLLC                         CUMMINGS, MCCLOREY, DAVIS & ACHO, PLC
Attorney for Plaintiff                           Attorney for Defendant
951 W. Milham Avenue                             319 West Front Street
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                                                 PO Box 30736
                                                 Lansing, MI 48909
                                                 (517) 335-7659




                    AFFIDAVIT OF BENJAMIN R. COTTON 8 APRIL 2021

        I, Ben Cotton, being duly sworn, hereby depose and state as follows:
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       1)      I am over the age of 18, and I understand and believe in the obligations of an oath.

I make this affidavit of my own free will and based on first-hand information and my own

personal observations.

       2)      I am the founder of CyFIR, LLC (CyFIR).

       3)      I have a master’s degree in Information Technology Management from the

University of Maryland University College. I have numerous technical certifications, including

the Certified Information Systems Security Professional (CISSP), Microsoft Certified

Professional (MCP), Network+, and Certified CyFIR Forensics and Incident Response

Examiner.

       4)      I have over twenty five (25) years of experience performing computer forensics

and other digital systems analysis.

       5)      I have over eighteen (18) years of experience as an instructor of computer

forensics and incident response. This experience includes thirteen (13) years of experience

teaching students on the Guidance Software (now OpenText) EnCase Investigator and EnCase

Enterprise software.

       6)      I have testified as an expert witness in state and federal courts and before the

United States Congress.

       7)      I regularly lead engagements involving digital forensics for law firms,

corporations, and government agencies.

       8)      In connection with this legal action I have had the opportunity to examine the

following devices:

       a)      Antrim County Election Management Server Image. This image was

acquired on 4 December 2020 by a firm named Sullivan and Strickler.



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        b)     Thirty eight (38) forensic images of the compact flash cards used in

Antrim County during the November 2020 elections that were imaged on 4 December

2020 by a firm named Sullivan and Strickler.


        c)     One (1) SID-15v-Z37-A1R, commonly known as the Image Cast X (ICX),

that was used in the November 2020 elections


        d)     Two (2) Thumbdrives that were configured for a precinct using the ES&S

DS400 tabulator that were used during the November 2020 election.


        e)     One ES&S server that was used in the November 2020 election.



9)      Internet Communications with the Dominion ICX. I examined the forensic image of a

Dominion ICX system utilized in the November 2020 election and discovered evidence of

internet communications to a number of public and private IP addresses. Of specific concern

was the presence of the IP address 120.125.201.101 in the unallocated space of the 10 th partition

of the device. This IP address resolves back to the Ministry of Education Computer Center, 12F,

No 106, Sec.2,Hoping E. Rd.,Taipei Taiwan 106. This IP address is contextually in close

proximity to data that would indicate that it was part of the socket configuration and stream of an

TCP/IP communication session. Located at physical sector 958273, cluster 106264, sector offset

256, file offset 54407424 of the storage drive, the unallocated nature of the artifact precludes the

exact definition of the date and time that this data was created. Also located in close proximity

to the Ministry of Education IP address is the IP address 62.146.7.79. This IP address resolves to

a cloud provider in Germany.




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Figure 1-IP Addresses Located in Unallocated Space



Further examination of the ICX clearly indicates that this system is also actively configured to

communicate on a private network of 10.114.192.x with FTP settings to connect to

10.114.192.12 and 10.114.192.25. Also apparent is that at one time this system was configured

to have the IP address 192.168.1.50. This IP address is also a private IP range. These IP

configurations and artifacts definitively identify two things, 1) the device has been actively used

for network communications and 2) that this device has communicated to public IP addresses not

located in the United States. Further analysis and additional devices would be required to

determine the timeframe of these public IP communications.

10)      ESS DS400 Communications. A careful examination of the ESS DS400 devices and

thumb drives was conducted. This examination proved that each DS400 had a Verizon cellular

wireless communications card installed and that the card was active on powerup, which meant

that there is the ability to connect to the public internet on these devices as well. Both of the

DS400 devices were configured to transmit election results to IP address 10.48.51.1. This is a

private network, which means that it would only be accessible by the remote DS400 systems

through leveraging the public internet and establishing a link to a communications gateway using

a public IP or via a virtual private network (VPN). It is important to understand that this


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communication can only occur if the cellular modems have access to the public internet. I did

not have the entire communications infrastructure for the private network and given this lack of

device production associated with the DS200, I can not say which other devices may have

connected to this private network nor the full extent of the communications of nor the remote

accesses to the DS400 devices.

11)      Out of Date Security Updates and Virus Definitions. An analysis of operating system,

and antivirus settings on the servers and computers provided to me was conducted. It was

immediately apparent that these systems were extremely vulnerable to unauthorized remote

access and manipulation. For example, none of the operating systems had been patched nor the

antivirus definition files updated for years. The Antrim EMS was last updated in 2016. The

other systems were in a similar state. This lack of security updating has left these systems in an

extremely vulnerable state to remote manipulation and hacking. Since 2016 more than ninety

seven (97) critical updates have been issued for the Windows 10 operating system to prevent

unauthorized access and hacking. The fact that these systems are in such a state of vulnerability,

coupled with the obvious public and private internet access, calls the integrity of the voting

systems into question. The Halderman report dated March 26, 2021 relating to this matter

validates this finding. It also validates that the system is in a state such that an unauthorized user

can easily bypass the passwords for the system and database to achieve unfettered access to the

voting system in a matter of minutes. These manipulations and password bypass methodologies

can be performed remotely if the unauthorized user gains access to the system through the

private network or the public internet.

12)      Incomplete Compliance with the Subpoena for Digital Discovery. Antrim County has

apparently failed to produce all of the voting equipment for digital preservation and analysis. I



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examined the purchase documents produced by Antrim County with respect to the purchase of

the Dominion Voting system and note that the following system components listed on the

purchase documents were not produced:

              (a) ImageCast Listener Express Server

              (b) ImageCast Express Firewall

              (c) EMS Express Managed Switch

              (d) ICP Wireless Modems (17)

              (e) Image Cast Communications Manager Server

              (f) ImageCast Listener Express RAS (remote access server) System

              (g) ImageCast USB Modems (5)

Without these system components it will be impossible to determine the extent of public and

private communications, the extent to which remote access to the voting system components is

possible and to determine if or when unauthorized access occurred.

       SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 8th DAY OF

April 2021.




                                                   Benjamin R. Cotton




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                   AFFIDAVIT OF BENJAMIN R. COTTON 8 JUNE 2021

I, Ben Cotton, being duly sworn, hereby depose and state as follows:

1)      I am over the age of 18, and I understand and believe in the obligations of an oath. I

make this affidavit of my own free will and based on first-hand information and my own

personal observations.

2)      I am currently the Vice President for Incident Response for eSentire and am the founder

of CyFIR, LLC (CyFIR).

3)      I have a master’s degree in Information Technology Management from the University of

Maryland University College. I have numerous technical certifications, including the Certified

Information Systems Security Professional (CISSP), Microsoft Certified Professional (MCP),

Network+, and Certified CyFIR Forensics and Incident Response Examiner.

4)      I have over twenty-five (25) years of experience performing computer forensics and other

digital systems analysis.

5)      I have over eighteen (18) years of experience as an instructor of computer forensics and

incident response. This experience includes thirteen (13) years of experience teaching students

on the Guidance Software (now OpenText) EnCase Investigator and EnCase Enterprise software.

6)      I have testified as an expert witness in state and federal courts and before the United

States Congress.

7)      I regularly lead engagements involving digital forensics for law firms, corporations, and

government agencies and am experienced with the digital acquisition of evidence under the

under the Federal Rules of Evidence.
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8)      I had the opportunity to observe Pro V&V personnel acquire the hard drives of an ES&S

voting system on 12 October 2021 preparatory to Pro V&V performing an audit on that system.

Pro V&V is one of two vendors approved by the U.S. Election Assistance Commission (EAC)

and were following EAC approved processes and procedures. In the course of this observation

the following deficiencies were noted:

     a) A Digital Hash of Original Hard Drives were not Created During the Process: Chain

        of custody and evidence preservation is mandated by the Federal Rules of Evidence and

        as a matter of course in best practices in any digital audit or examination. Creation of a

        digital hash value of the original evidence/device ensures that there are no changes to the

        evidence as part of the examination or subsequent handling. Without this principle of

        digital forensics, any evidence that did not possess this digital hash would not be

        accepted as evidence in legal proceedings.

     b) Failure to Protect the Original Hard Drives from Modification: One of the basic

        principles evidence is that original evidence must not be modified as part of any imaging

        or preservation process. It is a well documented that simply plugging a hard drive into a

        computer or other device can cause modifications on the device that was plugged in. Pro

        V&V personnel did not use a forensically approved device to protect the original voting

        system hard drives from modification during the imaging process. The device utilized to

        copy the original hard drive was a SABRENT USB SATA 2.5”&3.5” Dual Bay Hard

        Drive Docking Station model EC-HD2B. This device is a dual bay docking station that,

        per the OEM documentation, allows for data writing to both bays simultaneously. There

        is no protection provided to the original hard drive and thus can provide no assurance that

        changes were not made to the original hard drive.



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Figure 1-Back Cover SABRENT Packaging

    c) Failure to Produce a Forensically Sound Image of the Original Hard Drives: As a

        matter of practice examiners and auditors will connect original hard drives and devices to

        a forensic write block device and utilize forensic software to create a bit for bit forensic

        image file of the original digital device. This forensic image is validated utilizing either a

        Md5 or SHA256 hash to ensure that no changes were made during the acquisition process

        or occurred in subsequent handling of the evidence. If even one bit of data is changed,

        the hash value for the image will change. During the acquisition process utilized by Pro


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        V&V there was no forensically sound image produced from the original hard drive. Pro

        V&V utilized the SABRENT EC-HD2B to simply copy content from the original hard

        drive in bay 1 to a copy drive in bay 2. There were no forensic integrity checks of the

        transferred data nor was there a forensic comparison of the original hard drive and the

        copy of the drive to ensure that they were exact forensic replicas. The packaging of the

        SABRENT EC-HD2B implicitly states that both reads and writes are permitted

        simultaneously to both bays, thus eliminating any claim of forensic integrity by the

        auditors. As a matter of practice, any product of this device should not be used for

        forensic audit or investigation due to the lack of forensic integrity within the process.


SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 25th DAY OF January

2022.



                                                       _________________________
                                                       Benjamin R. Cotton




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                         EXHIBIT 5
     Qualifications and Reports of Jim Penrose
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                                                                           May 15, 2021


Title: Necessity of Source Code Review for Dominion Voting Systems EMS and
Tabulators
Analyst: James Thomas Penrose, IV


Executive Summary

The Dominion Voting Systems Patent US8,876.002B2 dated Nov 4, 2014 details
how Dominion voting machines support pre-election Logic and Accuracy testing
(Pre-LAT) system.

This patent outlines the technology concepts and design of Dominion with respect to
maximizing automation in the election configuration, ballot generation, processing,
and testing process. The outcome is to save the maximum amount of time through
automation with features and functionality that make it unnecessary to have
humans in the loop of running elections with various configurations that impact the
ballot configuration, vote casting, tabulation process, processing of ballot images,
and final tallied vote totals.

The specific incident in Antrim county is related to the features and the
functionality outlined in this patent; if any of the automated configuration and
testing functionality implemented by Dominion were to be abused in a systematic
fashion, modification of election outcomes would be trivial for an attacker. Patents
do not specify the precise implementation of the features or functionality and the
only way to determine the precise functionality implemented is to review the source
code of the operational systems using this patented technology.

Details

Here is an excerpt from the patent that speaks extensively about the use of
networked functionality to allow for testing at scale in larger jurisdictions:

      Additionally, the network communication device 28
      enables the Voting machines to have polls opened in pre-LAT
      mode remotely over the network. Pre-LAT polls mode is a
      standard mode of operation for a voting device for conducting
      Pre-election Logic and Accuracy tests. Further, the communication
      device enables the voting machines 11 to be provided
      with a vote simulation script over the network. A vote simulation
      script is a set of commands that can simulate Voting
      patterns on the machine even to the level of providing pre
      canned scanned ballot images or PDF images of ballots with
      machine generated marks for testing the vote interpretation
      engine on the tabulator. The communication device 28 also


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       enables the voting machines 11 to be remotely instructed to
       run pre-LAT activities such as interpreting vote simulation
       Scripts and images, performing image calibration procedures,
       Verifying all system components for readiness and proper
       function, self printer test etc. Finally, results of all Pre-LAT
       tests can be communicated back to the EMS through the
       communications device 28.
       Further, the network communication device 28 allows the
       Voting machines 11 to have pre-LAT polls opened remotely
       over the network, have pre-LAT polls closed remotely over
       the network and can communicate pre-LAT results back over
       the network. Additionally, the pre-LAT polls can be closed
       manually and can communicate pre-LAT results back over
       the network.
       Thus, the Voting machines 11 can be programmed with an
       election ballot from over the network, have pre-LAT polls
       opened remotely over the network and then disable all net
       work ports thru the tabulator firmware and software. Further,
       the Voting machines 11 can be programmed with an election
       ballot from over the network, have pre-LAT polls opened
       remotely over the network, have pre-LAT polls closed manu
       ally and then disable all network ports.
       Use of a Network to Prepare Voting Machines
       Typically the warehouse process cycle consists of the fol
       lowing functions (see FIG.3): Storage and maintenance 100:
       Test 101: Repair 102: Machine Preparation 103; Pre-LAT
       104; Distribution 105: Acceptance back after election 106:
       and Escrow storage 107.


The Dominion Voting System’s patent states that their machines have network
connectivity that can be used to open the polls for pre-LAT activities. Being able
to remotely open the polls using networked devices raises a number of questions
related to the network security.

   •   What authentication controls the level of access to the voting machines using
       the remote access?

   •   What safeguards are in place to protect the mode of operation of the voting
       machines; for instance, what prevents a technician from placing the machines
       in the Pre-LAT mode during the time of an election, and how are such mode
       changes logged for security review?



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The patent also indicates that a vote simulation script is used to produce votes and
enable counting of votes for pre-LAT purposes. The vote simulation script includes
additional features such as the ability to generate “pre-canned” ballots to scan.

   •   This script is configurable to generate various election results for testing
       purposes
   •   The results from the pre-LAT activities are reported back to the EMS for
       logging and validation of a successful test

It is unclear from the patent if all parts of networked voting machine infrastructure
are properly logged when they are operating in Pre-LAT mode. Given the far-
reaching interaction of the pre-LAT scripts across all of the voting machine
infrastructure it is imperative to review the original source code of the pre-LAT
scripts used by Dominion, their sub-contractors (eg ElectionSource) and the county
staff. A review of the pre-LAT script source code would illuminate all of the ways
that the networked voting machine infrastructure is manipulated to test. Moreover,
to truly understand the impact and methods of the pre-LAT script, the source code
for the tabulators, EMS, and other listener servers would be required to make an
assessment.

In Antrim County, there was no evidence of pre-LAT test results on the EMS. The
use of automated scripts designed to generate votes comes with inherent dangers,
not the least of which is the fact that the script could fall into the hands of a
malicious actor that wants to use those techniques for fraud.

The versatile pre-LAT set of tools used by Dominion to test the networked voting
system is pivotal to understanding whether what happened in Antrim county is
attributable to a script that is of the same parentage as pre-LAT scripts, or if the
error was purely human in nature.

In order to determine if a pre-LAT script was used in Antrim County, it is critical
that the source code be reviewed for the script(s) itself and the appropriate
investigative steps be taken to determine if the scripts run to change the vote
counting in Antrim are of the same parentage.




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The source code for all elections systems is required to be retained by the Michigan
Secretary of State in a third-party escrow account. The Michigan Election Code
states the following:

      168.797c Computer program; disposition and use of source code.

      Sec. 797c. A person or company providing a computer program that examines, counts, tabulates, and
      prints results of the votes cast by a voter on an electronic voting system shall place in an escrow account a
      copy of the source code of the program and any subsequent revisions or modifications of the source code.
      The secretary of state or an authorized agent of the secretary of state shall agree to use the information
      contained in the source code solely for the purpose of analyzing and testing the software and shall not
      disclose proprietary information to any other person or agency without the prior written consent of the
      vendor.

Here are the relevant definitions of the terms above:

      168.794 Definitions used in MCL 168.794 to 168.799a.

      Sec. 794. As used in sections 794 to 799a:

      (a) "Audit trail" means a record of the votes cast by each voter that can be printed, recorded, or visually
      reviewed after the polls are closed. The record shall not allow for the identification of the voter.

      (b) "Ballot" means a card, ballot label, paper ballot, envelope, or any medium through which votes are
      recorded.

      (c) "Ballot label" means the display or material containing the names of offices and candidates or the
      questions to be voted on.

      (d) "Counting center" means 1 or more locations selected by the board of election commissioners of the
      city, county, township, village, or school district at which ballots are counted by means of electronic
      tabulating equipment or vote totals are electronically received from electronic tabulating equipment and
      electronically compiled.

      (e) "Electronic tabulating equipment" means an apparatus that electronically examines and counts votes
      recorded on ballots and tabulates the results.

      (f) "Electronic voting system" means a system in which votes are recorded and counted by electronic
      tabulating equipment.

      (g) "Escrow account" means a third party approved by the secretary of state for the purpose of taking
      custody of all source codes, including all revisions or modifications of source codes.

      (h) "Source code" means the assembly language or high level language used to program the electronic
      voting system.

      (i) "Voting device" means an apparatus that contains the ballot label and allows the voter to record his or
      her vote.

      (j) "Voting station" means an enclosure provided to ensure ballot secrecy during the voting of the ballot.
      (k) "Memory device" means a method or device used to store electronic data.



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The benefit of analyzing source code from the third-party escrow account is the fact
that all original source code and changes to the source code must be stored with the
third-party to ensure that changes that impact any election voting, tabulation,
reporting, and testing is memorialized for authorized investigations. The Michigan
Election Code (law) provides for this transparency to ensure the integrity of the
election system.

Source code is required to perform this evaluation from the following systems and
technical tools:
   • All scripts (source) used for pre-LAT activities
   • All source code associated with all the varieties of tabulators, EMS, poll
      books, and other networked servers


Under the penalties of perjury, I declare that I have read the foregoing report and
that the fact stated in it are true.



___________________________
James Thomas Penrose, IV
Date: 5/15/2021




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                                                                                April 9, 2021



   His appointment may raise concern in Westminster that a Chinese businessman with
   ties to his country's Communist government could be seeking to gain influence over
   the business.

   Yang runs China Fusion Capital, the parent company of Run Liang Tai Management, a
   mysterious investment fund that has built a 15 per cent stake in Telit to become its
   largest shareholder.

   Sources said some of the firms that have invested in Run Liang are giant Chinese
   companies, such as coal mining group Wintime Energy and Jiangsu Shuangliang, a
   manufacturer of air conditioners and boilers.

   Run Liang also owns a stake in Sunsea Telecommunications, a Shenzhen-listed
   'internet of things' provider that recently raised around $200million (£1.5million) by
   issuing shares to Zhjzgroup, a state-backed tourism firm. Yang also sits on the board of
   Sunsea. Speculation has been mounting that Run Liang is hoping to engineer a merger
   of some or all of Telit with China-based Sunsea.

   Run Liang's move on Telit, which is listed on AIM, follows a period in which several
   other London-listed businesses have been bought by China-linked firms.

   Imagination Technologies was bought by Canyon Bridge – a private equity fund
   bankrolled by Beijing – in 2017 for £550million. Concerns rose in the spring when
   Canyon Bridge tried to place four directors from China Reform Holdings on to
   Imagination's board.

   Conservative MPs Tom Tugendhat, who now leads the China Research Group, and
   David Davis warned that Imagination's intellectual property could be shifted to China.

   When asked about Telit, Bob Seely, chairman of the Foreign Affairs Select Committee,
   said: 'We do need a thorough review of investment security and we need an oversight
   board for purchases by high-risk vendors or from higher risk states.' Telit, which is due
   to unveil figures next week, declined to comment.




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                          EXHIBIT 6
                       Doug Logan Reports
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3 EXECUTIVE SUMMARY
The Antrim County Election Management System (EMS) environment is setup in a manner where it would potentially be
possible for an individual to alter the results of the election without leaving much of a digital trail.

    •   Users of the computer have enough access rights and the needed tools installed to directly modify election
        results in the database. Official results are generated from this database.
    •   The master encryption key utilized to encrypt election results is stored in plain text in the database, and its value
        exists both at the county and with Election Source. If Election Source was hacked, or this value otherwise got
        into a malicious actor’s hand; it would be possible to create malicious tabulator configurations or alter the result
        files from tabulators. Either of these could be used to change the results of an election.
    •   Log levels are such on the system that it would be possible to delete files, delete logs, or the similar; and it
        would be difficult to have the necessary details available to investigate the incident.
    •   Application and computer system accounts are generic and shared among multiple individuals making it near
        impossible to determine who performed an action even if proper logging was in place.
    •   Hard-coded credentials, failure to use cryptography properly, and other well-known bad practices are utilized
        throughout the software suggesting that exploitation of the software is very possible. These types of problems
        are documented to be reoccurring with this EMS going back over 10 years.
    •   Ballot images are missing from the Compact Flash data, making it difficult to audit how the software interpreted
        any given ballot.

These types of findings and departures from best practices utilized across multiple industries for over 10 years is
inexplicable for a system that is both highly sensitive, and a likely target for nation state activity.

It is highly recommended that all components of the EMS software immediately go through a full code-review audit to
determine the extent of the problems encountered and how easily other areas of the application may be exploitable. In
addition, it is recommended that the following items be reviewed to have a better understanding of the full impact of
some of these findings:

    •   Election Source should be required to provide a list of all personnel that have access to the Election Definition
        databases utilized for Antrim County, as well as provide documentation on any controls that are in place to
        detect and prevent a breach or modification of election data.
             o Should the controls be determined to be insufficient to detect a nation state level attack, at a bare
                 minimum; all Michigan election projects, and compact flash cards should be forensically imaged and
                 reviewed to determine if any alterations of the data or systems took place.
    •   Documentation should be requested on the reasoning for installing Microsoft SQL Management Tools onto the
        EMS Server and who performed this action. This software is not on the EAC’s approved list for certified systems,
        and a legitimate purpose for its installation is not apparent. Yet this software greatly facilitates the changing of
        database values.
    •   Copies of the tabulator tape result output for all precincts should be provided, in addition to chain-of-custody
        documentation showing that these files have been properly cared for and have not been altered. These
        numbers should then be compared against the numbers read directly from the compact flash cards.
    •   File definitions should be provided by Dominion for the various results and configuration files held on the
        compact flash cards, so that the decrypted files can easily be read and confirmed to match the EMS Server and
        therefore no alteration took place.



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4 SCOPE
Cyber Ninjas was engaged to evaluate the security of the Election Management System (EMS) utilized in Antrim County,
MI in order to determine if cyber security related flaws, abuse of functionality, misconfiguration or purposely malicious
actions or code could account for the voting irregularities demonstrated in the county during the November 2020
General Election.

A forensic image of the Antrim County Election Management System (EMS) gathered on December 6th, 2020 was
converted to a bootable virtual machine. This machine was then utilized to allow the EMS to be utilized in a “live”
environment to examine logs, configurations, and functionality of the applications. All analysis was performed within
this virtual environment.


5 BACKGROUND
The following section outlines background details and definitions useful in understanding the overall Election
Management System (EMS) architecture and structure, as well as definitions that are utilized throughout the report.
Architecture details came from publicly available documentation, as well as reviewing the deployment within Antrim
County.


5.1 Architecture
The architecture of the Election Management System (EMS) in Antrim County consisted of one or more ImageCast
Precinct (ICP) tabulators and an ImageCast X (ICX) Ballot Marking Device (BMD) at every precinct, as well as the EMS
Server that was centrally located at the county. While the ICP devices support a number of different ways to remotely
report results, Antrim County stated that they aggregated the results by collecting the compact flash cards and manually
importing the results off of these compact flash cards.

5.1.1 ELECTION MANAGEMENT SYSTEM SERVER (EMS SERVER)
The EMS Server is the primary device utilized in Antrim County in order to run an election and serves as the central
aggregator for all election results within the county. While the EMS Election Event Designer software can be utilized to
build an entire election from scratch, documentation provided indicates that the initial election definition was created
by Election Source and exported as a package for Antrim County to then import into their system. This configuration was
then utilized by the county in order to build the compact flash cards utilized to configure the ImageCast Precinct (ICP)
devices, and after the polls were closed these same compact flash cards were brought back to the EMS in order to
attempt to import and publish the results. The EMS software also supports the manual entry of result files.




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5.2 Definitions
The following section references various definitions to help clarify their meaning throughout the report, and to clear up
some common misconceptions related to the systems reviewed.

5.2.1 LOG FILES
The term log files will be utilized for any place where an application or the operating system writes information about
what happened as an audit trail, or to aid in debugging. This includes, but is not limited to, specialized and general
Windows Event logs, the slog.txt files from the ICP tabulators, as well as the UserLog database table found within every
election database.

5.2.2 SOURCE CODE
Source Code is the text which is written by a programmer which can be compiled into a program. The compiled program
is then deployed onto a computer to perform the desired action. There was no source-code encountered on any of the
compact flash drives, or on any of the forensic images captured. Only compiled programs were deployed on these
systems.


6 FINDINGS
The following sections outline the findings discovered over the course of the analysis. This included significant deviations
from application security best practices, configurations that could allow the integrity of the system to be compromised,
and suspicious actual usage of the EMS. This information is broken out by topic with sections that cover “Authentication
& Authorization”, “Audit Logging & Tracking”, “Cryptography & Secrete Storage”, “Credential Management”, and
“Tabulation Irregularities”.


6.1 Authentication & Authorization
The application did not follow best practices related with assigning least privilege to the users required to do the job or
implement proper account management. This represents a large risk to the integrity of the election data. With the
current setup it would be simple for a malicious admin to modify the vote in a manner where it would be difficult to
determine who did it.

6.1.1 SYSTEM ADMINISTRATOR UTILIZED FOR ALL ACCESS
The only user that has been utilized to login to the EMS Server machine for the entire history available in the Security
Event Logs is the use EMSADMIN. This means that the EMSADMIN user is being utilized for normal, everyday use of the
various applications associated with voting. This is a huge security risk and could easily be utilized to compromise or
change the entire vote.

The EMSADMIN user is a full administrator on the machine in addition to being a full administrator on the Microsoft SQL
Database utilized to store all election data. Furthermore, the EMSSERVER has the appropriate tools installed to make it
simple to manually update any value in the database. This means that regardless of what level of access a user has
within the EMS application they’d be able to change anything they wanted because they’re accessing the computer as
an admin.




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This could be utilized to:

    •   Change vote totals within the database affecting final results.
    •   Add, Edit, or Delete any user in the application, including changing passwords.
    •   Delete any sort of logs or audit trail that may exist on the computer, or in the database.

6.1.2 SYSTEM AND APPLICATION SHARED ACCOUNTS
The application utilizes generic usernames and passwords rather than creating usernames for the individuals that will be
utilizing the application. This likely means that more than one user has the credentials to the same account in order to
perform various election related operations in the application. This defies best practice and makes it impossible for you
to know who it was that performed a given operation within the application since multiple people have access to the
same username. Best practices dictate that each user should always have his or her own username and password to the
application. This increases accountability and helps avoid situations where credentials might be leaked.


6.2 Audit Logging & Tracking
The EMS server configuration fails to implement audit logs and controls that would be typical of a high-risk application.
In many cases this would prevent the audit logs from existing that would be required to look into or detect a security
incident.

6.2.1 NO BALLOT IMAGES
None of the Compact Flash drives appeared to hold ballot images, and no ballot images had otherwise been imported
into the EMS. Ballot images are a critical artifact and are essential for any type of system audit to determine how an
electronic voting machine interpreted results and where it might be malfunctioning. Vendor training clearly state that
ballot images should be imported into the EMS immediately following the election, but this was never done, and the
images don’t even seem to be present. Without ballot images its near impossible to match up and see the origin of
where errors might be happening.

It is unclear how write-in candidates could have been properly handled without ballot images available for review.

6.2.2 INSUFFICIENT AUDIT LOGS
Audit logs should be configured in a manner that all sensitive operations are logged, that the logs include all details
necessary to investigate suspicious activity, and that the logs are difficult to tamper with. This was not the case with the
Windows Event logs, nor the EMS Application logs.

The Windows Operating System is configured with the standard log level which does not log the access of sensitive files,
the deletion of files, or other sensitive actions. This is atypical for a machine that is as sensitive as serving as the central
aggregator of all the votes in the county.

The EMS logs found in the UserLog table are also completely deleted any time an election package is loaded within EED.
Loading an election package in this way is a standard way that organizations such as Election Source provide the election
event. However, this would mean it would be possible for someone to set a malicious device configuration, build the
compact flash cards; and then reset the database and put things back to normal. This process would destroy all evidence
of the change. Furthermore, the user, EMSADMIN, which is the main account utilized on the machine; has full access to
edit the database and delete any log entries. Best practices dictate that an account utilized for normal use of a system
not have access to edit or remove logs.




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6.2.3 MANUAL ENTRIES DO NOT REQUIRE A COMMENT
The Result Tally and Reporting application can be utilized to insert manual vote count totals rather than automatically
importing those results from the tabulator. These manual entries appear to be a way to override and replace the existing
vote totals rather than allowing an interface where the numbers that are pulled in from a tabulator can be adjusted with
some sort of audit trail. This interface does not log the username submitting the details, require a comment explaining
the changes, or even display a timestamp so it was clear when the manual count was done.

These type of entries and comments are standard for any inventory or financial services application. It seems the
sensitivity of an election system would be higher than that of these systems.


6.3 Cryptography & Secret Storage
The application did not appear to follow best practices for credential storage. The full extent of the problem cannot be
fully determined without a review of the actual source code. However, simply by working with the files on the file
system and looking in the database it was possible to find various sensitive details that are not properly stored. This
included everything from the master encryption key to hard coded credentials.

6.3.1 PLAINTEXT CRYPTOGRAPHIC KEYS
The master cryptographic key utilized to encrypt all voting results and configuration from the tabulators is stored in plain
text in a table within the database for this election. With this key and knowledge about the file formats utilized; it would
be possible to alter election results prior to those result files being loaded into the EMS Server, or to alter configurations
for the tabulators to make them behave in a certain way. Furthermore, since Election Source originally built the election
package utilized by the county and is the originator of the database; any employee at Election Source who had access to
the county’s database file, or any nation state that compromised one of their computers; would have the encryption key
needed to adjust files on the compact flash cards.

Best practices would dictate that any encryption key utilized for election files would only exist on the County’s EMS
Server and stored in a hardware Trusted Platform Module (TPM). Since the compact flash cards for the tabulators are
always built locally, there is no reason for this encryption key to exist anywhere except for the location where the cards
are built. Failing to do so significantly reduces the overall security of the election.




                Figure 2 - Cryptographic keys are in plain-text in the databases. The values are redacted for security purposes.




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/Election Data
Translator/DVS.DemocracySuite.DatabaseService.dll

/Election Event                                        username="SAdmin"
Designer/DVS.DemocracySuite.DatabaseService.dll        password="YWanPlFl6ETqijhPNWFsyEjAy6eEzJM0A0DJ7O+YY4Q="

/Election Event
Designer/DVS.DemocracySuite.DatabaseService.dll
/Election Data
Translator/DVS.DemocracySuite.DatabaseService.dll

/Election Event                                        username="Admin"
Designer/DVS.DemocracySuite.DatabaseService.dll        password="oCFR3h+mPKykHkkE41o5cvyCSwY="

/Election Event
Designer/DVS.DemocracySuite.DatabaseService.dll
/Election Data
Translator/DVS.DemocracySuite.DatabaseService.dll

/Election Event                                        username="Admin"
Designer/DVS.DemocracySuite.DatabaseService.dll        password="oCFR3h+mPKykHkkE41o5cvyCSwY="

/Election Event
Designer/DVS.DemocracySuite.DatabaseService.dll

6.3.3 PASSWORDS STORED AS AN UNSALTED HASH
Credentials to the EMS applications are stored within the Microsoft SQL Database utilizing the hashing algorithm
SHA256. This is better than storing the credentials in the database as plain text, but industry best practices dictate that
these passwords should also have a cryptographically random string tacked onto the front of them before being hashed.
This is referred to as “salt”; and it prevents several common attacks that might allow an attacker to figure out the
credentials. Because salt was not used, we were actually able to take the hash out of the database,
6166A73E5165E844EA8A384F35616CC848C0CBA784CC93340340C9ECEF986384, and run it through a database of pre-
computed hashes at https://hashes.com/. This let us figure out that its value was, “dvscorp08!”.




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6.3.4 CREDENTIALS IN PLAIN TEXT
The application has several places that included credentials in plain text hard coded within various locations and
configuration files. Best practices dictate that credentials should always be encrypted whenever they are stored on the
filesystem of a machine. Failing to do so can allow sensitive credentials to potentially be compromised and utilized to
manipulate results. This is considered a basic security requirement that even low-risk applications should follow. The
Election Management System would be considered a high-risk system.

          C:\PROGRAM FILES\DOMINION VOTING SYSTEMS\SMART CARD SERVICE\NLOG.CONFIG
Database credentials are stored in plain text without any encryption within a configuration file for the Smart Card
Service. The naming of this password suggests that this default password has gone unchanged since 2008. This is
supported by a 2010 defect report that cited this same password as being hard coded within the application:

https://www.eac.gov/sites/default/files/voting system/files/Deficiency%20Report.pdf




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6.3.5 C:\PROGRAM FILES\DOMINION VOTING SYSTEMS\RESULTS TALLY AND REPORTING\NSLOG.CONFIG
The NSLog.Config for the Results Tally and Reporting has multiple database connections hard coded within the
configuration file. Giving the naming and database types listed with the connections string, it’s unclear if these are
currently in-use in the application. However, it further demonstrates that storing passwords in plain text is common
within the application suite.




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6.3.6 C:\PROGRAM FILES\DOMINION VOTING SYSTEMS\ELECTION EVENT DESIGNER\NSLOG.CONFIG
The NSLog.Config for the Election Event Designer has multiple database connections hard coded within the configuration
file. Giving the naming and database types listed with the connections string, it’s unclear if these are currently in-use in
the application. However, it further demonstrates that storing passwords in plain text is common within the application
suite.




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6.3.7 C:\PROGRAM FILES\DOMINION VOTING SYSTEMS\ELECTION DATA
      TRANSLATOR\ DVS.BRIDGING.IMPORTADAPTER.EXE.CONFIG
The DVS.Bridging.ImportAdapter.exe.config for the Election Data Translator has multiple locations for credentials hard
coded within the configuration file. It does not appear that Antrim utilizes this feature, so these appear to be blank.
However, it further demonstrates that storing passwords in plain text is common within the application suite.




6.4 Credential Management
Credential reuse appears to be relatively common across the organization, and across multiple deployments of the
application. The password dvscorp08!, which was in use in Antrim County has showed up in prior deficiency reports, and
in breach data associated with employees of the EMS vendor. Based on its naming, this password is over 12 years old
and still in use today. The continued use of this password makes it easy for a potential attacker to guess a password and
get into the system to manipulate data.

6.4.1 PASSWORD REUSE
Reviewing the passwords utilized for Antrim County going back to August 2018; it appears that the password
“dvscorp08!” has been utilized for at least one account since 2018 and in many cases that same password was utilized
for most if not all the accounts.

An 2012 EAC report, “WYLE TEST REPORT NO. T57381-01APPENDIX A.11DEFICIENCY REPORT“, reported on page 10
the dvscorp08! Password was hardcoded into the system and first reported on 2010-08-16 14:28.

https://www.eac.gov/sites/default/files/voting system/files/Deficiency%20Report.pdf




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6.4.2 BREACH DATA
A search of breach data associated with the EMS vendor’s domains shows regular use of the password
“dvscorp08!”.

2017-07-19 Breach
EMAIL | SHA-1 | CLEAR PASS
masha.REDACTED@dominionvoting.com | a02151de1fa63caca41e4904e35a3972fc824b06 | dvscorp08!

2017-12-11 Breach
masha.REDACTED@dominionvoting.com:dvscorp08!
masha.REDACTED@dvscorp.com:dvscorp08!
masha.REDACTED@gmail.com:dvscorp08!


6.5 Certification
The Election Assistance Commission’s (EAC) list of approved software for the EMS does not appear to include Microsoft
SQL Server Management Studio, but this software is installed on the machine. Microsoft SQL Server Management Studio
is a database administration tool which makes it easy to directly edit entries within the database. This could potentially
be utilized to change vote values.

Since this tool is a separate install from Microsoft SQL Server, it is our understanding that it would be required to
explicitly mentioned on the list of certified software in order to be allowed to exist on an EAC certified configuration (See
pages 4-13):
https://www.eac.gov/sites/default/files/voting system/files/Dominion Voting Systems D-Suite 5.5-B Test Plan-
Rev. 02.pdf




                                  Figure 3 - SQL Management Tools allows the easy editing of a vote.




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7 AFFIRMATION
I declare that I am over the age of 18, and I understand and believe in the obligations of an oath. Under penalty of
perjury laws of the State of Michigan and the United States I attest that the foregoing report is true and correct, and that
this report was executed this 9th day of April, 2021.

                                                                                           __________________________

                                                                                           Douglas Logan




8 ABOUT CYBER NINJAS
Cyber Ninjas is an application security consulting company specializing in code review, ethical hacking, training and
security program development. Our staff represents decades of experience in a variety of areas including application
support, development, product management, and application security. This experience across all areas of the software
development life cycle gives us a unique perspective on how to build security into your existing processes. We can help
you build a software security program, expand the capabilities of your existing staff, or simply perform a security
assessment of your software or your company. With everything we do, our goal is to build the knowledge within your
organization. We strongly believe that “Security comes with knowledge.” ™; and that it is our job as Cyber Ninjas to train
and teach through every engagement in order to build up capabilities within your organization.




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APPENDIX A: BIO – DOUGLAS LOGAN
Douglas Logan has handled Cyber Security for major companies and organizations around the country, such as the Federal
Communications Commission, JP Morgan Chase, Bank of America, Citibank, Sally Mae, and more. In 2015, he was named
a winner of the prestigious SANS 2015 Difference Makers Award.

Mr. Logan (CISSP, GWAPT, GCIH) is the CEO and Principal Consultant for Cyber Ninjas, a Sarasota, Florida-based company.
Mr. Logan is responsible for working with organizations to evaluate their current cyber security risks, educate stakeholders
on the nature and causes of those risks and establish policies, programs, and procedures that provide long-term protection.

Mr. Logan founded Cyber Ninjas under the mission of building organizations’ cyber security capabilities by developing
their people and processes, providing them with the opportunity to eventually handle their own security requirements.
His solution-focused services include enterprise threat analysis and modeling, security program development, secure
software development life-cycle (sSDLC) creation, malicious code detection, training, staff mentoring, code review and
ethical hacking. “We believe there is no point in breaking something if you can't offer a reasonable way to fix it,” he says.

Prior to founding Cyber Ninjas in 2013, Mr. Logan was a Senior Consultant for Cigital where, among other responsibilites,
he helped launch the Bloomington, Indiana office. Under Mr. Logan's technical leadership, Cigital was able to scale their
Vulnerability Assessement Managed Service in less than a year from three people conducting roughly 10 assessments a
month, to about 20 individuals performing 250 assessments a month. Mr. Logan's process oriented methodology allowed
him to place new hires straight out of college to billable work in under 10 days, and had those same individuals leading
teams within 60 days. After a year of building people and processes, the entire system Mr. Logan built was self-
propetuating and completely self-sufficient, allowing him to step into other projects.

Mr. Logan was also involved in many other areas of Cigital’s business, including mobile threat modeling and threat analysis,
red team enterprise risk assessments, advanced penetration testing, and instructor lead training. He is the author of
Cigital's Android Penetration Testing class, and co-author and team-lead responsible for creating the iOS Penetration
Testing class.

Before Cigital, Mr. Logan had 12 years combined experience in the IT field, including roles as Server Administration,
Development, and Product Management.

His broad experience not only gives him a deep technical backing, but allows him to design solutions that integrate with
normal day-to-day IT processes.

Outside of work Mr. Logan volunteers for the US Cyber Challenge; a non-profit organization dedicated to finding America's
brightest and getting them plugged into the Cyber Security field. In that role he helps shape America's future cyber
warriors to help defend our nation.

Mr. Logan holds Bachelors degrees in both Business Management and Accounting from Guilford College in Greensboro,
NC.




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